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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO
                               LEWIS T. BABCOCK, JUDGE

  Civil Case No. 10-cv-01866-LTB-CBS

  JASON ACKERMAN,

                Plaintiff,

  v.

  NELSON HIRSCH & ASSOCIATES, INC.,

             Defendant.
  ________________________________________________________________________

                            ORDER OF DISMISSAL
  ________________________________________________________________________


         THIS MATTER having come before the Court on the Stipulation of Dismissal With

  Prejudice (Doc 19 - filed March 15, 2011), and the Court being fully advised in the

  premises, it is therefore

         ORDERED that this matter shall be DISMISSED WITH PREJUDICE, each party to

  pay their own fees and costs.


                                               BY THE COURT:


                                                 s/Lewis T. Babcock
                                               Lewis T. Babcock, Judge

  DATED:     March 16, 2011
